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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION


KIMBERLY GOUDE,

      Plaintiff,

      v.

EMERGE HEALTHCARE GROUP,                         Case No. 6:22-cv-1511-RMN
LLC; FCID MEDICAL INC.; FIRST
CHOICE MEDICAL GROUP OF
BREVARD, LLC; FIRST CHOICE
HEALTHCARE SOLUTIONS, INC.;
and LANCE FRIEDMAN,

      Defendants.


                                   ORDER

      This cause comes before the Court on Plaintiff Kimberly Goude’s Motion

for Entry of Partial Final Judgment (Dkt. 64), filed on April 9, 2024. On April

22, Defendants responded in opposition. Dkt. 66. For the reasons discussed

below, the Motion is due to be granted in part and denied in part.

                           I.    BACKGROUND

      On August 24, 2022, Plaintiff Kimberly Goude filed a Complaint against

Defendants Emerge Healthcare Group, LLC; FCID Medical, Inc.; First Choice

Medical Group of Brevard, LLC; First Choice Healthcare Solutions, Inc.; and
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Lance Friedman, individually. Dkt. 1. The Complaint allegations violations of

the FLSA, the FMWA, ERISA, and Florida common law. Id.

      Upon the parties’ consent, this case was referred to a magistrate judge

to conduct all proceedings and order entry of a final judgment pursuant to 28

U.S.C. 636(c) and Federal Rule of Civil Procedure 73. Dkt. 28. The Court

entered an order granting Plaintiff’s Motion for Summary Judgment as it

related to Defendant Friedman’s individual liability under the FLSA. Dkt. 51.

The Court entered an order denying Plaintiff’s Motion for Summary Judgment

as it related to Plaintiff’s Count IV: ERISA. Dkt. 63. A status conference was

held on March 19, 2024, wherein the parties explained that they have

stipulated to the remaining unresolved issues FLSA issues. Dkt. 59. The

instant Motion followed.

                             II.   DISCUSSION

      Pursuant to the Federal Rules of Civil Procedure, “the court may direct

entry of a final judgment as to one or more, but fewer than all, claim or parties

only if the court expressly determines there is no just reason for delay. Fed. R.

Civ. P. 54(b). In this case, the Court has granted summary judgment as to

Defendant Friedman’s individual liability under the FLSA and the parties

have stipulated to the remaining FLSA issues. Therefore, the Court finds that

granting the Motion and entering final judgment for Plaintiff on the FLSA

claims would not prejudice any party to this litigation. Given the Court’s



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rulings and the parties’ stipulation, the Court further finds that entry of final

judgment is proper and would aid in judicial economy.

        The Court denies without prejudice the motion to the extent that it seeks

an award of attorney’s fees and costs. The Court will allow the parties to fully

brief the issue of attorney’s fees and costs at a later date set by the Court so

that the Court may address attorney’s fees and costs in all related cases at one

time.

                              III.   CONCLUSION

        Accordingly, there being no reason for delay, it is ORDERED that:

        1.    Plaintiff’s Motion for Entry of Judgment (Dkt. 64) is GRANTED

in part and DENIED in part;

        2.    The Clerk is DIRECTED to enter partial judgment in favor of

Plaintiff and against Defendants on Counts I, II, and III of Plaintiff’s

Complaint;

        3.    Plaintiff shall recover against all Defendants, jointly and

severally, $1,368.40 in unpaid wages and $1,368.40 in liquidated damages;

        4.    Plaintiff shall recover against Defendant First Choice Medical

Group of Brevard, LLC, $1,559.12 in unpaid wages;

        5.    The Motion is DENIED without prejudice to the extent it seeks

attorney’s fees and costs. Plaintiff is relieved of his obligation to file a motion

for attorney’s fees and costs by the required deadlines pursuant to the Local



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Rules. The Court will enter a separate order setting a briefing scheduling for

any forthcoming motion for attorney’s fees and costs upon the conclusion of all

related cases; and

      6.    The Court retains jurisdiction over this action for the purpose of

Plaintiff’s Count IV: ERISA claim against Defendants and enforcing this

Order.

      DONE and ORDERED in Orlando, Florida, on April 23, 2024.




Copies furnished to:

Counsel of Record




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